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 7     Attorneys for Plaintiff
 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
      TERRY FABRICANT, individually           )     Case No. 2:21-cv-00345-CJC-MAA
11
      and on behalf of all others similarly   )
12    situated,                               )
13                                            )
      Plaintiff,                              )     NOTICE OF VOLUNTARY
14                                            )     DISMISSAL OF ENTIRE
15           vs.                              )     ACTION WITHOUT
                                              )     PREJUDICE.
16
      UNITED FUNDING ADVISORS                 )
17    LLC, and DOES 1 through 10,             )
18    inclusive, and each of them,            )
                                              )
19    Defendant.                              )
20                                            )
21
22           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
23    Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
24    prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion
25    for summary judgment. Accordingly, this matter may be dismissed without
26    prejudice and without an Order of the Court.
27
      ///
28



                   NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                              -1-
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 1          Dated: March 10, 2021
 2                           Respectfully Submitted,
 3
 4                           LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
                             By:    /s/ Todd M. Friedman
 6                                  Todd M. Friedman
 7
                                    Law Offices of Todd M. Friedman, P.C.
                                    Attorney for Plaintiff
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                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                           -2-
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 1                                  PROOF OF SERVICE
 2          I, the undersigned, certify and declare that I am over the age of 18 years,
 3
      employed in the County of Los Angeles, State of California, and not a party to the
 4
 5    above-entitled cause. On March 10, 2021, I served a true copy of the NOTICE OF
 6
      VOLUNTARILY DISMISSAL WITHOUT PREJUDICE on all counsel of record
 7
 8    via the ECF Filing System:
 9
      Executed on March 10, 2021, at Woodland Hills, CA
10
            [X] I hereby certify that I am a member of the Bar of the United States
11
12    District Court, Central District of California.
13
            [ ] I hereby certify that I am employed in the office of a member of the Bar
14
15    of this Court at whose direction the service was made.
16
            [X] I hereby certify under the penalty of perjury that the foregoing is true
17
18    and correct.

19
20       By:         /s/ Todd M. Friedman
                     TODD M. FRIEDMAN, ESQ.
21
                     ATTORNEY FOR PLAINTIFF
22
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                  NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                               -3-
